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                     1    CALVIN E. DAVIS (SBN: 101640)
                           cdavis@gordonrees.com
                     2    AARON P. RUDIN (SBN: 223004)
                           arudin@gordonrees.com
                     3    GORDON & REES LLP
                          633 West Fifth Street, 52nd Floor
                     4    Los Angeles, CA 90071
                          Telephone: (213) 576-5000
                     5    Facsimile: (213) 680-4470

                     6    Attorneys for Defendant and Counterclaimant Guardian Protection Products, Inc. and
                          Defendant RPM Wood Finishes Group, Inc.
                     7

                     8                               UNITED STATES DISTRICT COURT

                     9                              EASTERN DISTRICT OF CALIFORNIA

                    10

                    11    G.P.P., Inc., d/b/a GUARDIAN INNOVATIVE               CASE NO. 1:15-cv-00321 SKO
                          SOLUTIONS
                    12                                            DECLARATION OF RONNIE
                                                      Plaintiff,  HOLMAN IN SUPPORT OF
Gordon & Rees LLP




                    13                                            DEFENDANTS GUARDIAN
                               VS.                                PROTECTION PRODUCTS, INC.
                    14                                            AND RPM WOOD FINISHES
                          GUARDIAN PROTECTION PRODUCTS, INC. and) GROUP, INC.'S MOTION FOR
                    15    RPM WOOD FINISHES GROUP, INC.         ) ATTORNEYS' FEES
                                                                )
                    16                        Defendants.       ) Date:      October 18, 2023
                                                                ) Time:      9:30 a.m.
                    17                                          ) Courtroom: 7
                                                                ) Judge:     Hon. Sheila K. Oberto
                    18         AND RELATED COUNTERCLAIM         )
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                                        DECLARATION OF RONNIE HOLMAN IN SUPPORT OF DEFENDANTS'
                                                MOTION FOR ATTORNEYS' FEES AND COSTS
                          Case 1:15-cv-00321-SKO          Document 534-2         Filed 09/12/23      Page 2 of 2


                     1            I, Ronnie Holman, declare as follows:

                     2            1.      At all times relevant herein, I was the President of RPM Wood Finishes Group,

                     3     Inc. ("RPM"). I was also previously the President of Guardian Protection Products, Inc.

                     4     ("Guardian"). I am familiar with the facts and circumstances in the above-entitled matter as they

                     5     relate to this declaration, and if called upon, I could and would competently testify thereto.

                     6            2.      On or about February 27, 2015, Guardian was named as a defendant in the above-

                     7     captioned action (the "Action") filed by plaintiff G.P.P., Inc. d/b/a Guardian Innovative

                     8     Solutions ("GIS"). Guardian retained the law firm of Gordon & Rees LLP to represent it in

                     9     connection with this Action and began incurring attorneys' fees beginning in March 2015 and

                 10        continuing to the present.

                 11               3.      RPM was named as a defendant in the above-captioned matter filed by GIS on

                 12        July 29, 2016. RPM also retained Gordon & Rees LLP to represent it in the Action and agreed

                 13        with Guardian to a 50/50 split of Gordon & Rees LLPs attorneys' fees incurred in connection

                 14        with the Action from July 29, 2016 going forward.

                 15               I declare under penalty of perjury under the laws of the United States that the foregoing is

                 16        true and correct and that this declaration was executed on September 12, 2023, in Hickory, North

                 17        Carolina.

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                                                                                    Ronnie Holman, Declarant
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                                          DECLARATION OF RONNIE HOLMAN IN SUPPORT OF DEFENDANTS'
                                                  MOTION FOR ATTORNEYS' FEES AND COSTS
